
395 S.E.2d 685 (1990)
327 N.C. 431
NATIONAL SERVICE INDUSTRIES, INC.
v.
Helen A. POWERS, Secretary of the North Carolina Department of Revenue.
No. 263P90.
Supreme Court of North Carolina.
August 29, 1990.
Newton G. Pritchette, Jr., Asst. Atty. Gen., for defendant.
Petree, Stockton &amp; Robinson, Charlotte, for plaintiff.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Plaintiff; and upon consideration of the petition for discretionary review of the decision of the North Carolina Court of Appeals, filed by Defendant pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 29th day of August 1990."
The Petition for Discretionary Review:
"Denied by order of the Court in conference, this the 29th day of August 1990."
